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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION




MATT DINERSTEIN, individually and on       Case No. 1:19-cv-04311
behalf of all others similarly situated,
                                           Hon. Rebecca R. Pallmeyer
                 Plaintiff,
      v.

GOOGLE LLC, a Delaware limited liability
company, and THE UNIVERSITY OF
CHICAGO MEDICAL CENTER, an Illinois
not-for-profit corporation, THE
UNIVERSITY OF CHICAGO, an Illinois
not-for-profit corporation,

                 Defendants.




   DEFENDANT GOOGLE LLC’S MEMORANDUM OF POINTS AND AUTHORITIES IN REPLY IN
     SUPPORT OF GOOGLE’S MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT
                      (FED. R. CIV. P. 12(b)(1) AND 12(b)(6))
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I.     INTRODUCTION

       Plaintiff’s Opposition (“Opposition” or “Opp.”) to Defendants’ Motions to Dismiss offers

no valid justification for the many defects of the Amended Complaint (“Amended Complaint” or

“AC”) and is more notable for what it concedes than what it attempts to refute.

       First, with respect to the issue of Article III standing, Plaintiff tacitly concedes that

Google has never attempted to “re-identify” him, or anyone else, from the University’s research

data. Indeed, Google confirmed in the Data Use Agreement (“DUA”) governing its use of the

research data that it would not do so. Plaintiff therefore lacks standing to pursue a claim against

Google, because Google’s receipt of data that is not tied to specific individuals is not an invasion

of privacy and there is no imminent risk of harm to support a cognizable injury.

       Second, Plaintiff points to no facts in the Amended Complaint to support the element of

“intentional and malicious inducement” needed to state a claim for intentional interference with

contract. Plaintiff’s only response on this issue is to cite a case that actually affirmed dismissal

of an interference claim for failure to allege wrongful intent—precisely the same defect that

mandates dismissal here.

       Third, with respect to the theory that Google induced the University to violate HIPAA,

Plaintiff concedes that HIPAA includes multiple safe harbors that allow covered entities like the

University to disclose research data without patient authorization, and even pleads facts

indicating compliance. Given these statutory safe harbors, Plaintiff cannot demonstrate a

HIPAA violation by merely alleging, as he does, that research data was disclosed without his

authorization. Plaintiff tries to obscure this defect in various ways, but none has merit.

       Fourth, Plaintiff claims that Google induced the University to breach an “all efforts”

clause in its patient agreements and to violate an Illinois statute involving experimental

procedures and research programs. But Plaintiff neglects to mention that the “all efforts” clause


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on which he relies is part of an agreement in which patients specifically authorize the University

to share data for research purposes. Plaintiff’s theory based on the Medical Patients Rights Act

(“MPRA”) fares no better, as the statute only applies to procedures and research that could pose

some risk to current patients. Plaintiff’s effort to expand the statute to cover Google’s data

analysis requires a tortured reading of the statute that should be rejected.

        Fifth, Plaintiff offers no reason whatsoever why his defective claim for intrusion upon

seclusion should be allowed to proceed. Instead, Plaintiff asks the Court to create an entirely

new cause of action—for “unauthorized disclosure by a medical provider of patients’ medical

information” (Opp. at 24)—that he concedes has never been recognized under Illinois law. The

Court should reject this request, which would violate the Seventh Circuit’s clear admonition that

federal courts not create new state law. Further, even where the tort has been recognized, courts

have applied it only where the medical information at issue is tied to identified individuals,

which was not the case with the research data here.

        In short, all claims against Google should be dismissed with prejudice.

II.     ARGUMENT

        A.     Plaintiff Lacks Article III Standing (All Counts).

        As Google showed in its Motion to Dismiss (“Motion” or “Mot.”), Plaintiff’s theory of a

purported “injury in fact” against Google—that Google could potentially try to “re-identify” him

from the University’s research data by combining it with other data—is inherently speculative

and cannot support Article III standing. (Mot. at 5-6.) In his Opposition, Plaintiff does not

dispute that Google has never tried to re-identify him (or anyone else) and thus knows nothing

about his medical treatments or conditions (or anyone else’s). Instead, Plaintiff claims that the

mere disclosure of research data to Google constitutes an “invasion of privacy” that supports




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Article III standing even without such re-identification. 1 (Opp. at 6-9.) Plaintiff’s own legal

authorities do not support this theory of injury.

       Plaintiff relies on Remijas v. Neiman Marcus Group, LLC, 794 F.3d 688 (7th Cir. 2015)

and Lewert v. P.F. Chang’s China Bistro, Inc., 819 F.3d 963 (7th Cir. 2016), both of which

involved data breaches in which hackers obtained consumers’ credit card information. The

courts there found that plaintiffs “should not have to wait until hackers commit identity theft or

credit-card fraud” to bring suit because “everyone’s personal data has already been stolen” and

“there is an ‘objectively reasonable likelihood’ that such injury will occur.” Remijas, 794 F.3d at

692-93 (citation omitted); see also Lewert, 819 F.3d at 967 (“[i]t is plausible to infer a substantial

risk of harm from the data breach, because a primary incentive for hackers is ‘sooner or later[ ]

to make fraudulent charges or assume those consumers’ identities”) (citation omitted).

       Further, in addition to the likelihood of future harm, the courts found that plaintiffs in

these cases faced immediate “identifiable costs associated with the process of sorting things out,”

including “replacing cards and monitoring their credit score,” Remijas, 794 F.3d at 692,

regardless of what the hackers eventually did with their data. See also Lewert 819 F.3d at 967

(the fact that a data breach occurred “made the risk of identity theft and fraudulent charges

sufficiently immediate to justify mitigation efforts,” which “qualify as ‘actual injuries’”)

(citations omitted). In Remijas and Lewert, the disclosure of the personal data—without more—



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  Plaintiff additionally argues that he has standing to pursue his claims against the University by
virtue of the University’s alleged breach of contract and “conversion of the commercial value of
[his] information . . . .” (See Opp. at 4-5, 9.) Given that neither of these theories implicates
Google, Google does not address them here, except to note that Plaintiff has failed to plausibly
allege breach (see Mot. at 6-9) and has not pled facts demonstrating that, by sharing data
pursuant to HIPAA, the University caused Plaintiff to lose anything of value. See Silha v. ACT,
Inc., 807 F.3d 169, 174-75 (7th Cir. 2015) (plaintiff lacks standing because “a plaintiff’s claim of
injury in fact cannot be based solely on a defendant’s gain; it must be based on a plaintiff’s
loss”).

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thus created “certainly impending” risk that required redress, Remijas, 794 F.3d at 692 (citations

omitted); no additional steps were necessary to cause harm.

        The circumstances here are not remotely similar. The data at issue was not stolen by

hackers who are now free to use the data as they wish for nefarious purposes. It was shared

pursuant to a HIPAA-compliant DUA that contractually limits Google’s uses and specifically

forbids any effort to re-identify patients. (AC Ex. 1 at § 3.1(b) (“Data User agrees not to use the

Limited Data Set in [] a way as to identify any individual and further agrees not to contact any

individual.”).) This case thus raises none of the imminent and actual harms that supported

standing in Plaintiff’s cited cases.

        The circumstances here are also readily distinguishable from those in which courts have

found standing based on an established invasion of privacy under Illinois law, all of which

involve the exposure of personal information tied to specific individuals. Cf. Sterk v. Redbox

Automated Retail, LLC, No. 11-cv-1729, 2013 WL 4451223, at *1, *3 (N.D. Ill. Aug. 16, 2013),

aff’d, 770 F.3d 618, 628 (7th Cir. 2014) (plaintiffs have standing based on alleged violation of

privacy rights where defendant disclosed plaintiffs’ PII, defined as “information which identifies

a person . . . ,” and including plaintiffs’ names, emails, zip codes, and the last four digits of their

credit card numbers) (emphasis added); Browner v. Am. Eagle Bank, 355 F. Supp. 3d 731, 732

(N.D. Ill. 2019) (finding an “invasion of privacy” sufficient to establish Article III standing

where defendant impermissibly accessed plaintiff’s “individual and personal credit file,”

obtaining “personal information about plaintiff, including her current and past addresses,

birthdate, employment history, and telephone numbers,” as well as her “payment history,

[information about her] individual credit accounts, and credit worthiness.”). The research data at

issue here raises no such issues because it is not tied to individually identified patients.




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       The Court should reject Plaintiff’s effort to expand the scope of Article III injury in a way

that has no legal support and would only hamstring legitimate medical research authorized by

HIPAA. See 45 C.F.R. §§ 164.512(i)(1)(i); 164.514(e).

       B.      The Court Should Dismiss Plaintiff’s Intentional Interference with Contract
               Claim (Count 4).

               1.      Plaintiff alleges no facts to show that Google acted with the wrongful
                       intent needed to support an intentional interference claim.

       As shown in Google’s Motion, Plaintiff’s claim for intentional interference with contract

fails because the Amended Complaint does not demonstrate any contractual breach by the

University. (See Mot. at 6-9; ECF No. 44 (University’s Motion to Dismiss) at 9-11.) But even if

Plaintiff had demonstrated a breach, the claim would still fail because the Amended Complaint is

devoid of any facts to show that Google’s “intentional and malicious inducement” caused any

alleged breach. George A. Fuller Co., Div. Northrop Corp., v. Chi. Coll. of Osteopathic Med.,

719 F.2d 1326, 1330 (7th Cir. 1983) (internal quotation and citations omitted).

       Plaintiff’s Opposition makes little effort to address Google’s arguments on this point,

suggesting in a footnote that the requirement of intentional conduct only applies where the

conduct would otherwise be “privileged.” (Opp. at 11.) But the case on which Plaintiff relies

says no such thing2 and actually affirmed dismissal of an interference claim because plaintiff did

not adequately allege that the defendant “intentionally caused” the breach or “intended to cause

[plaintiff’s] harm.” Ill. Bell, 778 N.E. 2d at 1211 (emphasis in original). Plaintiff’s allegations

here fall short for the same reasons.

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 In fact, it explicitly rejects the theory that “the element of intentionality [should be limited] to
cases where the defendant’s conduct was privileged,” and clarifies that “[a] necessary
prerequisite to the maintenance of an action for tortious interference with contract is a
defendant’s intentional and unjustified inducement of a breach of contract.” Ill. Bell Tel. Co. v.
Plote, Inc., 778 N.E. 2d 1203, 1211 (Ill. App. 2002) (internal quotation and citations omitted). If
a defendant claims privilege, then the burden shifts to plaintiff to prove that the defendant’s
“conduct was malicious or unjustified.” Id. (citation omitted).

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       Indeed, the DUA attached to the Amended Complaint confirms that Google did not

intentionally induce the University to breach any contractual obligation. Critically, the DUA

includes a representation from the University that it had “the right to disclose” the research data

provided to Google and was “in compliance with applicable laws and regulations in making the

[research data] available . . . .” (AC Ex. 1 at § 2.2.) Google could not have intentionally induced

the University to commit a breach when the DUA confirmed to Google that the University had

the “the right to disclose” the data at issue. See Pampered Chef v. Alexanian, 804 F. Supp. 2d

765, 797-99 (N.D. Ill. 2011) (no tortious interference claim where defendant encouraged

individuals to recruit plaintiff’s employees not knowing that the recruitment violated those

individuals’ non-solicitation agreement).

               2.     Plaintiff has not alleged a breach of any contract by the University.

       In addition to Plaintiff’s failure to allege interference that was “intentional,” the

intentional interference claim fails for the additional and fundamental reason that the Amended

Complaint does not adequately allege any breach by the University in the first place. The

Opposition claims the University breached its contractual obligations to patients by (1) violating

HIPAA in breach of a promise in the Admission and Outpatient Agreement and Authorization

(“Agreement”) to comply with “federal [] law,” (2) violating the Illinois MPRA in breach of a

promise in the Agreement to comply with “state law,” (3) violating the Agreement’s “all efforts”

clause, and (4) selling patient information in violation of the Notice of Privacy Practices

(“NPP”). (Opp. at 11.) All of these theories fail.

                      a.      Plaintiff has not alleged any HIPAA violation.

       With respect to Plaintiff’s central theory of breach—that the transfer of research data

without express patient authorization violated HIPAA—Google showed in its Motion that

HIPAA in fact authorizes such transfers in multiple statutory safe harbors. The Opposition does


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not dispute these HIPAA provisions but asks the Court to ignore them for two meritless reasons.

       First, Plaintiff argues that “Defendants would ultimately need to establish” various

specific requirements “in order to take advantage of” the safe harbors. (Opp. at 17.) But it is

Plaintiff’s burden to plead facts that demonstrate an alleged HIPAA violation. Defendants do

not have to prove that the safe harbors apply (even though Defendants’ compliance is clear from

Plaintiff’s own allegations and the judicially noticeable materials presented to the Court)3. The

very fact that HIPAA allows research data to be disclosed without patient authorization means

Plaintiff cannot demonstrate a violation by simply alleging that he did not authorize the

disclosure of the data at issue. As the Supreme Court explained in Bell Atlantic Corp. v

Twombly, 550 U.S. 544, 545-46 (2007), facts that are “merely consistent with” an alleged

violation do not satisfy Rule 8’s pleading requirements. In Twombly, the plaintiffs’ complaint

included a Sherman Act price-fixing claim supported by specific allegations about the

defendants’ parallel pricing behavior over time. Id. The Supreme Court held these allegations

were inadequate to state a claim because the alleged conduct “could just as well be” normal

market behavior. Id. at 555-57, 565-68. Similarly here, merely alleging that patients did not

authorize the disclosure of research data does not demonstrate any HIPAA violation because the

disclosure “could just as well be” authorized by HIPAA’s safe harbors. Id. at 557; see also

Spector v. Mondelez Int’l, Inc., 178 F. Supp. 3d 657, 670-71 (N.D. Ill. 2016) (Rule 8 requires

“more than a sheer possibility that a defendant has acted unlawfully. . . . If the allegations give

rise to an obvious alternative explanation, then the complaint may stop short of the line between

possibility and plausibility”) (internal quotation and citations omitted). This is especially true

where a plaintiff pleads facts tending to support that “alternative explanation,” as Plaintiff has


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 See Mot. at 7; AC ¶ 66, Ex. 1 (Data Use Agreement); ECF No. 47-1 (Ex. A to the Somvichian
Declaration iso Google’s Mot. to Dismiss).

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done here. (AC ¶ 66 (conceding that “[t]he information transfer was made pursuant to an ‘Data

Use Agreement.’”).) See also McCready v. eBay, Inc., 453 F.3d 882, 888 (7th Cir. 2006) (“[I]f a

plaintiff pleads facts which show he has no claim, then he has pled himself out of court.”)

(citations omitted).

       Second, Plaintiff conceded that HIPAA allows disclosure of Protected Health Information

(“PHI”) for research purposes without patient consent, but argues that the research project falls

outside of the HIPAA safe harbors discussed in Google’s Motion because it involved not only

the disclosure of patient information but a “sale” requiring express patient authorization. (Opp.

at 17-18.) Specifically, Plaintiff claims there was a “sale” because the University received

“remuneration . . . in the form of a perpetual license to use software generated by Google . . . .”

(Id. at 3, 17-18 (referencing 45 C.F.R. § 164.502(a)(5)(ii)).) 4 The DUA, however, shows

otherwise. Google did not give the University a “perpetual license to use [Google] software.”

Rather, the University was granted a “license to use the Trained Models and Predictions that

[Google] provides UChicago under this DUA for internal non-commercial research

purposes.” (AC Ex. 1 at § 3.12) (emphasis added.) This provision allows the University to share

in the medical advancements that Google develops from the research data (the “Trained Models”

and “Predictions”) so long as the information is used for the University’s own “internal non-

commercial research purposes.” This “license” simply confirms the primary purpose of the

parties’ relationship—the mutual exchange of research information—and is not “remuneration”

within the meaning of HIPAA. Indeed, the DUA clarifies that the research data “remain[s] the

sole property of UChicago [the University]” and the University retains the right to have the data

returned or destroyed by Google, at the University’s election, underscoring the parties’ intent to


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  Plaintiff does not allege that Google paid any money for the research data because any such
allegation of a “sale” would be patently false.

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form a research relationship, not engage in a data sale. (AC Ex. 1 at §§ 3.10, 5.4.)

                      b.      Plaintiff has not alleged a violation of the MPRA.

       There is no violation of the MPRA here because the MPRA’s consent requirements apply

only to patients who are active participants in “experimental procedures” or “research

program[s].” 5 The definition of a “research program” makes this clear:

               Research program − any organized activity intended to establish
               new medical or scientific information, involving medical, surgical,
               manipulative, or psychiatric diagnosis or treatment of human
               subjects who are inpatients or outpatients of a hospital and who
               are subjects at risk.

77 Ill. Admin Code § 250.130(b)(1)(B) (emphasis added). Plaintiff seizes on isolated terms like

“organized” and “new medical information” to claim that Google’s data analysis falls within this

definition, but by its plain language this section does not apply. Plaintiff does not allege that

Defendants conducted research on him while he was an “inpatient[ ] or outpatient[ ] of a

hospital,” nor could he, as Google performed only data analysis of medical records. Plaintiff

also does not come within the definition of a “subject at risk” because Google’s data analysis did

not subject him to any risk of any physical or other harm. Plaintiff claims the purported

“invasion of privacy” from the University’s disclosure of research data itself constitutes the

necessary “risk,” but this interpretation does not comport with the statutory language. Notably,

Plaintiff quotes only part of the definition of a “subject at risk” in his Opposition (Opp. at 19),

omitting the requirement that a “subject at risk” be put at risk for injury by “research,

development, or related activity that significantly departs from the application of those

established and accepted methods necessary to meet his or her needs, or that increases the

ordinary risks of daily life, including the recognized risks inherent in a chosen occupation or


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  Plaintiff does not argue that the research here constitutes an “experimental procedure” as that
term is defined. (Opp. at 18.)

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field of service.” 77 Ill. Admin Code § 250.130(b)(1)(C) (citation omitted). This definition is

clearly inapplicable to Plaintiff and further underscores that “research program” refers to

research involving current patients, not data analysis on depersonalized electronic health records

as alleged in the Amended Complaint.6

                      c.      Plaintiff has not alleged a breach of the “all efforts” clause.
       Plaintiff’s Opposition also fails to show how the “all efforts” clause in the Agreement
could contractually bar the University from sharing the research data at issue.

       First, Plaintiff ignores the fact that immediately preceding the “all efforts” clause, the

Agreement requires patients to agree that:

               [M]y medical information in any form . . . may be used and shared
               for research that has been approved by the University of Chicago
               Institutional Review Board (IRB) and that has been found to pose a
               minimal risk [and]

               I acknowledge that such research by the University of Chicago
               Medical Center may have commercial value and, in that event, I
               understand that I will not be entitled to any compensation,
               regardless of the value of such research or any products or
               inventions developed therefrom.
(AC Ex. 2 (emphasis added).) Plaintiff’s interpretation of the “all efforts” clause would forbid

the University from doing exactly what patients agree the University can do in the prior sentence,

making the Agreement internally inconsistent and violating basic tenets of contract

interpretation. See Hammarquist v. United Cont’l Holdings, Inc., 809 F.3d 946, 951 (7th Cir.

2016) (“[defendant] cannot be said to have breached a contract by doing exactly what the

contract authorized”); Thompson v. Gordon, 948 N.E.2d 39, 47 (Ill. 2011) (“A contract must be

construed as a whole, viewing each provision in light of the other provisions. The parties’ intent

is not determined by viewing a clause or provision in isolation, or in looking at detached portions



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 As further evidence that the “research program” requirements apply to current patients, the
same section the University allegedly violated by transferring the data also states that “[n]o
physician may conduct any research program . . . on a patient without the prior informed consent
of the patient,” and “[t]his Section shall not apply to any research program . . . for patients
subject to a life-threatening emergency[.]” 410 ILCS 50/3.1(b), (c) (1997).

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of the contract.”). Plaintiff makes no effort to address this fundamental flaw of his theory.

        Second, in response to Defendants’ arguments that the term “all efforts” is too vague to

be enforceable, Plaintiff argues that Illinois courts have enforced analogous “best efforts” clauses

as a general agreement to act in good faith. (Opp. at 15-16); see also M.S. Distrib. Co. v. Web

Records, Inc., No. 00-cv-1436, 2003 WL 21087961, at *9 (N.D. Ill. May 13, 2003) (“the case

law in Illinois generally holds that a best efforts undertaking is similar to the exercise of good

faith implied in all contracts”) (internal quotation and citations omitted). But again, even if the

“all efforts” clause here imposes a general “good faith” requirement, it would not preclude the

sharing of research data that patients specifically authorize in the immediate preceding term of

the Agreement. See, e.g.¸ Alberto–Culver Co. v. Aon Corp., 812 N.E.2d 369, 380 (Ill. App.

2004) (“Where an inconsistency arises between a clause that is general and one that is more

specific, the latter prevails.”) (citations omitted).

                        d.      Plaintiff has not alleged a “sale” of his medical information in
                                violation of the NPP.
        Plaintiff’s final theory of breach is that the University “sold” Plaintiff’s medical

information to Google without obtaining written permission as required by the NPP. (Opp. at 11,

16-17.) As described above (see section (II)(B)(2)(a), supra), there was no “sale” of medical

information to Google. To the contrary, the University disclosed, and patients agreed, that the

University could share patient information as part of IRB-approved research, including research
to develop products with commercial value (the only possible avenue by which the Amended

Complaint could possibly be construed to allege a “sale”) as discussed above. (See AC Ex. 2.)

        C.      The Court Should Reject Plaintiff’s Request To Create A New Tort Claim
                That Does Not Exist Under Illinois Law.

                1.      Seventh Circuit law precludes federal courts from creating new state
                        law claims.

        In an eleventh-hour attempt to salvage a claim, Plaintiff abandons his cause of action for

intrusion upon seclusion and asks this Court to adopt a new theory of liability that he concedes

does not exist in Illinois. (Opp. at 24.) This Court should not create new state law. As the


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Seventh Circuit has repeatedly admonished, “in applying state law, federal courts are to be

conservative, not innovative,” and “[r]espect for state courts as the primary expositors of state

law counsels restraint by federal court in announcing new state law principles.”           Cima v.

WellPoint Health Networks, Inc., 556 F. Supp. 2d 901, 906-07 (S.D. Ill. 2008) (internal quotation

and citations omitted). Indeed, the Seventh Circuit has “consistently . . . held that it is not [the

federal courts’] role to break new ground in state law.” Roppo v. Travelers Commercial Ins. Co.,

869 F.3d 568, 597 (7th Cir. 2017) (internal quotation and citation omitted); see also Robinson v.

McNeil Consumer Healthcare, 671 F. Supp. 2d 975, 991 (N.D. Ill. 2009), aff’d 615 F.3d 861,

862 (7th Cir. 2010) (federal courts “must be careful to avoid the temptation to impose upon a

state what it, or other jurisdictions, might consider to be wise policy”).

       Plaintiff cites two cases in asking the Court to adopt his new theory (Opp. at 24-25), but

neither suggests that a federal court can create entirely new state law torts from whole cloth, as

Plaintiff urges. Instead, the court in both cases applied established doctrines to new factual

circumstances and had to predict how the state’s high court would resolve that application of

existing law. See Vigortone AG Prods., Inc. v. PM AG Prods., Inc., 316 F.3d 641, 644 (7th Cir.

2002) (applying the existing state law rule regarding the use of parol evidence where a contract

includes an integration clause to the context of a fraud claim); Cmty. Bank of Trenton v. Schnuck

Mkts., Inc., 887 F.3d 803, 811-12 (7th Cir. 2018) (barring card-holders’ banks from collecting in

tort against a retail merchant who suffered a data breach based on the economic loss rule already

recognized in the relevant jurisdictions). Plaintiff has not provided any authority to support the

extraordinary step of creating an entirely novel basis for liability under Illinois law, and this

Court should decline to do so.

               2.      Plaintiff’s new legal theory fails on the merits even if it were available
                       under Illinois law.



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       Even if Plaintiff’s new theory were recognized in Illinois, it does not apply here for three

reasons. First, in every case Plaintiff cites where a court recognized a claim for a breach of a

physician’s duty of confidentiality, the wrongfully disclosed medical information directly

revealed the plaintiffs’ identities. See, e.g., Lawson v. Halpern-Reiss, 212 A.3d 1213, 1215 (Vt.

2019) (emergency room nurse disclosed to a police officer that Plaintiff, whom she had just

treated for an injury, was intoxicated and had driven herself to the hospital); Byrne v. Avery Ctr.

for Obstetrics & Gynecology, P.C., 175 A.3d 1, 2-3 (Conn. 2018) (health care provider mailed a

copy of plaintiff’s medical records to the court where plaintiff’s former partner had filed a

paternity action); Biddle v. Warren Gen. Hosp., 715 N.E.2d 518, 526-27 (Ohio 1999) (hospital

disclosed unredacted medical forms with patient names and medical information to a law firm to

enable the firm to contact the patients); Alberts v. Devine, 479 N.E.2d 113, 116 (Mass. 1985)

(minister’s superiors induced psychiatrist to share confidential information about the minister’s

mental health, which led to minister losing his position). The disclosure of patients’ identities in

connection with their medical information was crucial in each of these cases.7 In contrast, and as

detailed in Google’s Motion, the information the University shared here had all direct identifiers

removed—it was not about Plaintiff at all. (Mot. at 12; see also AC ¶¶ 64-65.) Thus, Plaintiff’s

repackaged claim suffers from the same fundamental defect: the common law does not recognize

a cause of action for sharing data that does not identify, and is not tied to, specific individuals.

       Second, as Plaintiff’s own cases show, states adopting a claim for breach of a physician’s


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  Indeed, the cases make clear that the tort is intended to encourage trust and transparency
between the patient and physician in order to promote better patient care. See, e.g., Byrne, 175
A.3d at 7 (“The purpose . . . is to give the patient an incentive to make full disclosure to a
physician in order to obtain effective treatment . . . ”) (internal quotation and citations omitted).
Courts adopting the tort wanted to protect against the “promiscuous[] disclos[ure]” of patient
information and prevent physicians from “gossip[ing] about a patient’s health.” Id. at 13
(internal quotation and citations omitted). Where a patient’s identity is not disclosed with his or
her medical information, these concerns do not apply. (See Mot. at 2-3.)

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duty of confidentiality have relied on HIPAA “to inform the standard of care applicable to such

claims[.]” Byrne, 175 A.3d at 11 (internal quotation and citation omitted); see also Lawson, 212

A.3d at 1221 (“Given the Legislature’s reliance on HIPAA, and medical care providers’

familiarity with the law, we conclude that the federal statute and its implementing regulations

should inform the standard of care and establish the framework for exceptions to medical care

providers’ duty of confidentiality.”) (citation omitted). Thus, if a health care provider shares

patient data in compliance with HIPAA (e.g., pursuant to a DUA or IRB approval), there is no

breach of the duty of confidentiality, even where that cause of action is recognized under state

law. That is precisely what happened here. (See Mot. at 6-8.)

       Third, even if the facts supported a breach of confidentiality theory as against the

University (which they do not), and even if Illinois law recognized such a theory (which it has

not), there would still be no basis to impose liability on Google. Plaintiff relies on the doctrine

of in-concert liability, but it does not apply on its face. In-concert liability provides that a

tortfeasor may be liable for the tortious conduct of another in three circumstances, two of which

Plaintiff relies on here: (a) if he “does a tortious act in concert with the other . . .” or (b) if he

“knows that the other’s conduct constitutes a breach of duty and gives substantial assistance or

encouragement . . . .” Hutchinson v. Fitzgerald Equip. Co., Inc., 910 F.3d 1016, 1025 (7th Cir.

2018) (internal quotation and citations omitted) (emphasis added).

       Theory (a) for in-concert liability does not apply here because it requires that a defendant

“actively participate in the tortious conduct.” Hutchinson, 910 F.3d at 1025. (emphasis added).

The allegedly tortious conduct here is the University’s disclosure of data. Google did not

“actively participate” in that disclosure, nor could it; Google merely received the research data

the University shared.




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       Theory (b) also does not apply because it requires that a defendant offer “substantial

assistance or encouragement” to an underlying tort with knowledge that it will result in a breach

of duty. See Hutchinson, 910 F.3d at 1025; Sanke v. Bechina, 576 N.E.2d 1212, 1215 (Ill. App.

1991) (relying on the Restatement to illustrate substantial encouragement as follows: “A and B

participate in a riot in which B, although not throwing rocks himself, encourages A to throw

rocks. One of the rocks strikes C, a bystander. B is subject to liability to C.”) Here, Plaintiff

alleges no facts to show that Google knowingly encouraged the University to breach an

obligation of patient confidentiality. To the contrary, Google received the research data pursuant

to the DUA in which the University represented that it had the right to disclose the data at issue.

The facts alleged in the Amended Complaint simply do not support a finding of in-concert

liability, and Plaintiff’s claim should be dismissed.

       D.      Plaintiff’s Claim for Unjust Enrichment Fails (Count 6).

       Plaintiff’s Opposition largely ignores his unjust enrichment claim, referring to it only in a

single footnote. (See Opp. at 10 n.3.) As Google argued in its Motion, and as the Opposition

appears to concede, his unjust enrichment claim depends on the success of his underlying claims.

(Id.) Because each of the claims against Google fail, there is no basis for Plaintiff’s unjust

enrichment claim and it should be dismissed.

III.   CONCLUSION

       For the reasons stated herein and in Google’s Motion, Google respectfully requests that

the Court dismiss Plaintiff’s Amended Complaint with prejudice.

Dated: January 13, 2020                               Respectfully submitted,


                                                      /s/ Michael G. Rhodes
                                                                    Michael G. Rhodes

                                                      One of the Attorneys for Defendant
                                                      GOOGLE LLC


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                                  CERTIFICATE OF SERVICE

        I, Michael G. Rhodes, an attorney, certify that the foregoing Memorandum of Points

and Authorities in Reply in Support of Motion to Dismiss Plaintiff’s Amended Complaint

was filed through the Court’s CM/ECF system on January 13, 2020 which automatically

provides notification of such filing to all registered users.

                                                       /s/ Michael G. Rhodes
                                                           Michael G. Rhodes




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